      Case 2:21-mj-00091-JDP Document 15 Filed 06/08/21 Page 1FILED
                                                                 of 2
                     UNITED STATES DISTRICT COURT           June 8, 2021
                    EASTERN DISTRICT OF CALIFORNIA       CLERK, US DSITRICT COURT
                                                                      EASTERN DISTRICT OF
                                                                          CALIFORNIA


UNITED STATES OF AMERICA,                      Case No. 2:21-mj-00091-JDP

               Plaintiff,

      v.                                           ORDER FOR RELEASE OF
                                                    PERSON IN CUSTODY
DIANA CERVANTES

               Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release DIANA CERVANTES Case No.

2:21-mj-00091-JDP Charges 21 USC § 841(b)(1)(b) from custody for the following

reasons:

                     Release on Personal Recognizance

               X     Bail Posted in the Sum of $

                                                                 25,000.00 co-signed

                                                                 by Enrique

                                                                 Cervantes,
                      X       Unsecured Appearance Bond $
                                                                 Magdelena

                                                                 Cervantes and
                                                                 Jesus Cervantes

                              Appearance Bond with 10% Deposit

                              Appearance Bond with Surety as stated on the record

                              in open court.

                              Corporate Surety Bail Bond

                              (Other): Pretrial release conditions as stated on the

                              record in open court. Defendant is to be in contact with
                          X
                              Pretrial Services telephonically on the morning of

                              6/9/2021 and is to then report to the USM for
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                      processing.

Issued at Sacramento, California on at 2:00 PM on June 8, 2021



                           By:       /s/ Kendall J. Newman

                                     Magistrate Judge Kendall J. Newman




                                 2
